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                                  '-'                                  . ....,i
~.                 Case 01-01139-AMC       Doc 22766-34     Filed 08/13/09        Page 2 of 5
                                                    ',-"
                                                                                                        .-....-;



 15     WALT TORGISON      12109/1999        4.53    92         2.91     '72            38.7     120
                           12105/2000        4.21    82         2.74      65            33.9     104
                           07/09/2Q03 .      4.18    83         2.66      65            31.6     99
                           11/1212003        4.07    81         2.57      63           31.14     98
                           06/21/2004
                                 ' ,         3~75    65         2.46      60           30.48     96
                           04/10/2006        3.53     ?         2.57.     65           30.67     98
                                   ,
                                   !   !

 17 .   ART SCHAUER        06/23/2003       4.26     104       A3.57     109           26.55     96 _
                           08/30/2004       4.44     109       3.60      111            30.5     112
                           09/06/2005       4.38     109       3.52      109           25.13     93
                          A10/31/2006       3.34     84        2.61       82           20.42     76

 19 RUBEN FELLENBURG       04101/1999        2.65    66         1.93         62        16.81     67
                           1210211999        2.33    58 .       1.67         54        16.63     67
                           10/05/2000        2.03    54         1.47         50        15.30     63
                           05/07/2001        1.97    53         1.48         51        14.61     61



 22         WW              11/1412004       3.42    90        ·2.85         97        21.68     90
                          . 12127/2()05      3.47    92         2.66         91        18.51     80
                            01/17/2()07                                                  8.8     37
                            01/0212008       2.41    65         2.3          80         9.87 .   42
                 Case 01-01139-AMC      Doc 22766-34        Filed 08/13/09   Page 3 of 5

                     SUMMARY OF MORTALITY STUDY DISEASE PERCENTAGES
                       Significant Contributing Factor Analysis (as of 7/9/08) .

     Death Due to                      Mine-      Family                                   Percentage of
     Asbestos Disease? 1             Worker 2    Member Community 4          . Total               Total
     YES                                   37          18          . 55 *      110                   59%

     NO                                    17           6            53         76                 41%
     Total                                 54         24            108        186                100%


     Asbestos Oisease? ."Yes" per
     Best Available Information        Mine-      Family                               .Percentage of
     Review:                         Worker 2    Member Community 4          Total            Yes/No
     Mesothelioma                           5          0               2          7                  4%

 . Lung Cancer                              3          4             12         19                  10%

     Asbestosis (includes ARPD) 5         29          14             33         76                 41%

   Other Asb Related Cancer 3              0           2             .6           8                 4%
   Total for all asbestos                 37          20'          . 53       '110                 59%
 . related diseases


 Asbestos Disease "Yes"               Mine-      Family                                Percentage of
 Per Death Certificate 6:           Worker 2    Member Community 4.          Total           Yes/No'
 Mesothelioma.                             5           0              2        ·7                    4%

 Lung Cancer                              '2           3             11         16                   9%

 Asbestosis (includes ARPD) 5             23           8             20         51                 27%

 Other Asb Related Cancer 3                0          2              A-~----:---6                   3%
 Total for all asbestos                   30         13' .          37         80                  43%
 related diseases


                                                                                                           "
.1 Asbestos disease was at least a significant contributing factor in the death .
2 "Mineworker" includes subcontracted employees
3 Includes laryngeal and GI cancers (esophageal, stomach, colon, rectum)

   per Selikoff and Seidman (1992)
4 "Community" means those who are not mineworkers or family members of mineworkers.
* "Community" includes 24 undetermined as to family member or community status
5 "ARPD" asbestos related pleural di.sease
6 On the death certificate, any mention of asbestos disease as a contributing
   factor in the death is considered as an asbestos disease death, per Sullivan (2007).

Exhibit 7                                                                             5/11/2009
                                                                                              EXHIBIT

                                                                                       I         1
                 Case 01-01139-AMC        Doc 22766-34        Filed 08/13/09   Page 4 of 5

                       SUMMARY OF MORTALITY STUDY DISEASE PERCENTAGES
                               Primary Cause Analysis (as of 7/9/08)

     Death Due to                        Mine-       Family                                 Percentage of
     Asbestos Disease? 1               Worker 2     Member Community 4         Total                Total
     YES                                    33           18      45 *            96                 52% .

     NO                                      24           7             59        90                   48%
     Total                                   57          25            104       186                  100%


    Asbestos Disease? "Yes" per
    Best Available Information          Mine-         Family                               Percentage of
    Review: 1                         Worker 2     . Member Community 4 .      Total·            Yes/No
    Mesothelioma                            5              0         2            7                  4%

    Lung Cancer                               3           4             12           19               10%

    Asbestosis (includes ARPD) 5            25           12             25           62               33%

    Other Asb Related Cancer 3               0            2             6         8                    4%
    Total for all asbestos                  33           18            45        96                   52%
    related diseases


    Asbestos Disease "Yes"              Mine-       Family                                 Percentage of
    Per Death Certificate e: .        Worker 2     Member Community 4          Total            . Yes/No
    Mesothelioma                            5            0         2             .7                   4%

    Lung Cancer                              2            3            11        16                    9%

Asbestosis (includes ARPD) 5                17            7            15        39                   21%

 Other Asb RelatedG~n~r3                     0          .2              4       ..6                    3%
.Total for all asbestos                     24          12             32        68                   37%
 related diseases


1    Asbestos disease was the primary cause of death per best available information review.
2 "Mineworker" includes subcontracted employees
3  Includes laryngeal and GI cancers (esophageal, stomach, colon, rectum)
  . per Selikoff and Seidman (1992)
4 "Community" means those who are not mineworkers or family members of mineworkers.
* "Community" includes 21 undetermined as to family member or community status
5 "ARPD" asbestos related pleural disease
6 On the death certificate, underlying cause was used, per Selikoff and Seidman (1991).




Exhibit 7a                                                                                5/11/2009

                                                                                                 EXHIBIT

                                                                                            I 7tt
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                                                                  Libby Claimants On· Oxygen (CARD patients only)                                                                                       5/28/2008
                                                                                                                             t:;;                                ijf£"~~"'''~'                                  :'"0

 :.)        ~rlt . ' . .                              Lloyd                                                  . 8/11/20'60)

            Atchley                                . Edward                                                        4/5/2001
            --'--'-'
            Bache
                                                          __. _ - - - -
                                                      Frank
                                                            ..                               --------_._~._-~--~--_.-
                                                                                                             . 4/26/2001
                                                                                                                                                                                      -------.

            Baeth                                     Kenneth                                                 10/2911997                               9/10/1949 '.                                     5/1/1950
            ---.-------._-- e--.----,-.-_.------ .----.----.---/----------1-.-._--..- ----.
            Baeth                                   Katherine                                                   2/17/2004
            Baker                                   Darryn                                                     7/:24/2000
            Benefield                              Donald                                                         1/8/2001
       '. Benoit
         --_.__._-'-----
                                                   EdWard                                                      8/26/1998                          . 10/17/1974                                         10/1/1987 .
                                                    --'-.---:--~--'-------                  ----_._------+------.;.---_. --_._._ ..._--------
         Breeding.                                 Charles                                                    '8/2e/2001
        Busby                                     Dan                                                          11/8/2001
        CarVey.                                   Steven                                                  '. 10/30/2000
        Challinor                                 Wendy                                                       2/20/2001
        Chapman                                  George'                                                      7/22/1998                              3/30/1974                                        ·3/29/1976
        De$hazet                                 Daniel·
h,     .Dickerman-Auge                           Lois                                                           8/1/2001
       Dutton                                   Merritt                                                      9/14/2000
     . Edwards                                  Robert                                                       9/27/2001
       En:iett                                  Leonard,                                                     12/4/2000
       Erickson                                 Richard                                                     7/17/2001
 -_.                                                               ..
       Farmer                 ..               ~rthur                                                         5/1i20bf"- ...
       Fellenberg                              Ruben                                                        3/21/1985'-                     . ... 6/5/1958                                            7/29/1986
     1-----'-
       Ferch                                   Warren Dean                                                  6/29/2000                              7/23/1974                                           1/1/1990
     Fore                                      Bill                                                        9/15/1999·                            12/14/1973                                            1/1/1991
     '--_._-----_..          _-_.--              - _ . _ ~ .




                                                                               - - ----'.-.10/24/2001,                                    -----_
                                                                                                                                               ..- ._---------.--
     Freebury                                 Danny
     Gardiner                                 Blake                                                        3/14/2001
     --------.----------_.1------_._--...'------ -_.-.--..- -----.-.--- .---------.-..- -- --.._._-._-_..-.. .__. - -
     Haefele                                 Marvin'                                                       8/15/2005
     Halsey                                  Hazel                                                         3/18/1999                                                      I.
       -.-....--...-..--..---.....-.--...- - . - - - - f--..------.--.-.-..-.-.-.--....-.-.- -..- - - - -..- - - - . - - - , - .--......-.-------..--.-•.--.---1..-.-.--...--.--..-.---.. -......._-_...-
     Hill                                    Larry                                                      1'2/27/2000                                                       j
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